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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JOETTE PETE,

Movant,
v. Misc. No. 3:19-mc-26
BIG PICTURE LOANS, LLC, et al., Under Seal
Respondents.

LULA WILLIAMS, et al.,

Plaintiffs,
Vv. Civil Action No. 3:17-cv-461
BIG PICTURE LOANS, LLC, et al., Under Seal
Defendants.

RENEE GALLOWAY, et al.,

Plaintiffs,
Vv. Civil Action No. 3:18-cv-406
BIG PICTURE LOANS, LLC, et al., Under Seal
Defendants.

MEMORANDUM OPINION
This matter is before the Court on MATT MARTORELLO’S MOTION
UNDER RULE 30(d) FOR FURTHER DEPOSITION BASED ON CONDUCT THAT

IMPEDED QUESTIONING AND FOR EXPEDITED RULING (Pete v. Big Picture

Loans, LLC, 3:19-mc-26 (E.D. Va.) (“Pete”), ECF No. 23; Williams

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v. Big Picture Loans, LLC, 3:17-cv-461 (E.D. Va.) (“Williams”),

ECF No. 747; Galloway v. Big Picture Loans, LLC, 3:18-cv-406 (E.D.

Va.) (“Galloway I”), ECF No. 391) (the “MOTION”’). The Court has

considered the MOTION and the supporting, opposing, reply, and
supplemental memoranda, as well as the UNITED STATES OF AMERICA’S
STATEMENT OF POSITION REGARDING MATT MARTORELLO’S MOTION UNDER
RULE 30(d) FOR FURTHER DEPOSITION BASED ON CONDUCT THAT IMPEDED
QUESTIONING AND FOR EXPEDITED RULING (Williams, ECF No. 783) (the
“Position of the United States”). For the reasons set forth below,

the MOTION (Pete, ECF No. 23; Williams, ECF No. 747; Galloway I,

ECF No. 391) was granted on July 9, 2020. (Pete, ECF No. 35;

Williams, ECF No. 820; Galloway I, ECF No. 480.) This MEMORANDUM

OPINION explains the reasons for that decision.
BACKGROUND

The Plaintiffs filed-in Williams, Galloway I, and Galloway v.

Martorello, 3:19-cv-314 (E.D. Va.) (“Galloway II”)—three similar,

but in many respects substantively quite different, actions
arising out of a so-called “Rent A Tribe” scheme allegedly
orchestrated by Matt Martorello (“Martorello”), members of his
family, companies that he controls, and investors who allegedly
funded the scheme (the “Martorello Defendants”).

In October 2015, Eventide Credit Acquisitions, LLC
(“Eventide”) and Tribal Economic Development entered into a Loan

and Security Agreement (“LSA”) by which Eventide loaned the Lac

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Vieux Desert Band of Lake Superior Chippewa Indians (“LVD”)
(through Tribal Economic Development) $300 million to help start
a payday lending business. (See Williams, ECF No. 83-17 71 1.1.)
The parties also executed a secured promissory note (the “Note”)
and agreed therein to make future monthly payments to Eventide.
(Williams, ECF No. 83-11.)

On July 27, 2018, the Court issued a MEMORANDUM OPINION in
which the Court held that Big Picture and Ascension were not

entitled to sovereign immunity. Williams v. Big Picture Loans,

LLC, 329 F. Supp. 3d 248, 283 (E.D. Va. 2018). On July 3, 2019,
the United States Court of Appeals for the Fourth Circuit held
that Big Picture and Ascension “are entitled to sovereign immunity
as arms of [LVD] and therefore reverse[d] the district court’s

decision.” Williams v. Big Picture Loans, LLC, 929 F.3d 170, 177

(4th Cir. 2019). Since those decisions, the Plaintiffs have
alleged that the Defendants made “material misrepresentations and
omissions . . . during the sovereign immunity phase of the

litigation.” (Williams, ECF No. 788 at 1; Galloway I, ECF No. 436

at 1.) These alleged misrepresentations and omissions are the
subject of an evidentiary hearing to be held before the Court on
July 21, 2020.

Joette Pete (“Pete”) served as the Vice Chairwoman of LVD
from 2010 to 2016. (Pete, ECF No. 2 at 3.) In support of the

PLAINTIFFS’ STATEMENT OF POSITION REGARDING MATERIAL
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MISREPRESENTATIONS AND OMISSIONS MADE TO THE COURT (Williams, ECF

No. 788; Galloway I, ECF No. 436) (the ‘Plaintiffs’

Misrepresentations Memorandum”), the Plaintiffs submitted the

DECLARATION OF JOETTE PETE (Williams, ECF No. 784-17; Galloway I,

ECF No. 432-17) (the “Pete Declaration”). In the Pete Declaration,
which Martorello contends is inaccurate, (Pete, ECF No. 34 at 4;

Williams, ECF No. 790 at 4; Galloway I, ECF No. 438 at 4), Pete

states, inter alia, that “Martorello ran [Red Rock] and bore all
the risk” and that Michelle Hazen’s (“Hazen”) declaration was
inaccurate. (Pete Declaration {I 4-6, 8.) Pete also declared
that “it [did] not surprise [her] that [Martorello’s] emails were
destroyed because a shredding company was also hired to destroy
paper records related to the business. This had never been done
in the past and was performed specifically to conceal the truth
about the business.” (Id. 9 11.) In her MEMORANDUM IN SUPPORT OF
MOTION TO QUASH SUBPOENAS (Pete, ECF No. 2), Pete also stated that
she “has personal knowledge of the origin of Defendants’ unlawful
lending scheme and the LVD’s role in that scheme and Defendants
have long known this.” (Id. at 3-4.)

The parties resolved Pete’s motion to quash and agreed to
hold her deposition on May 26, 2020. At Pete’s deposition, counsel
for Martorello, Richard Scheff (“Scheff”), questioned Pete about,
inter alia, information she reported to the FBI about LVD

officials, Martorello, and others. (See, e.g., Williams, ECF No.

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778 at 5-8; Galloway I, ECF No. 428 at 5-8 (“Pete Dep. Tr.”).)

Pete testified that she spoke with the FBI on several occasions
and that she met with the FBI to discuss several cases, including
the underlying actions in this case. (Pete Dep. Tr. at 5-8.) When
asked what crimes on LVD’s reservation she had discussed with the
FBI, Plaintiffs’ counsel, Eleanor Drake (“Drake”), objected at
length and stated that Martorello’s line of questioning was
irrelevant, lacked foundation, and was meant to “intimidate” and
“harass” Pete. (Id. at 7-10.) Pete’s counsel, Bhupesh Pattni
(“Pattni”), objected on relevancy grounds but noted that “[i]f Ms.
Pete wants to provide an answer, you know, she can... .” (Id.
at 9.) After discussing the issue with Pete during a break in the
deposition, Pattni stated that Pete “does not want to discuss and
we’re not going to about any other investigations she’s talked to
the FBI” and that Pete would “be happy to answer questions if the
judge pushes it in camera, but we’re kind of going down a sensitive
path here and I don’t think it’s relevant or necessary for her to
do it today.” (Id. at 11-12.) Scheff subsequently asked Pattni
if he was instructing Pete not to answer. (Id. at 12.) Pattni
stated that he “told [Pete] to use her best judgment.” (Id.)
However, Drake added that Pete was “not answering the question.
My understanding of the record is that she’s not answering the
question, and I think it’s certainly appropriate for her to refuse

to do that.” (Id.) Scheff, Drake, and Leonard Bennett
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(“Bennett”)—-additional counsel for the Plaintiffs-continued to
argue about what questions Pete could answer and whether the
Plaintiffs’ objections were valid. (Id. at 12-21.)

During that argument, Bennett and Drake both claimed that
what Pete discussed with the FBI was subject to the “informer

privilege.” (See, e.g., id. at 19-20.) After this heated debate,

Scheff ultimately asked Pete if she would “identify any of the
individuals that [she] disclosed to the FBI alleged criminal
activity which [Pete] believe[d] occurred on the reservation,” to
which Pete responded that she would not. (Id. at 21.)

In the MOTION, Martorello seeks an order “requiring Joette
Pete to submit to a further deposition for the limited purpose of
answering questions she refused to answer due to actions of
Plaintiffs’ counsel to impede the deposition.” (Mot. at 2.)
Martorello also asks that Plaintiffs’ counsel be required to pay
the costs Martorello incurred by filing the MOTION and the costs
of deposing Pete again. (Id.) In response to the Court’s June 8,

2020 ORDER (Pete, ECF No. 31; Williams, ECF No. 768; Galloway I,

ECF No. 416), Martorello filed a supplemental memorandum that
included a list of proposed questions that he seeks to ask Pete.
(Pete, ECF No. 32; Williams, ECF No. 769; Galloway I, ECF No. 419.)
These questions concerned, inter alia: (1) what crimes Pete
believed occurred on the reservation; (2) what communications Pete

had with the FBI concerning crimes allegedly involving Martorello,
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James Williams, Jr. (“Williams”), and Hazen; (3) when and with
whom these communications occurred; (4) whether Pete has notes
from her meetings with the FBI; and (5) whether Pete has knowledge
of any government investigation into crimes allegedly involving
Martorello, Williams, and Hazen. (Pete, ECF No. 32; Williams, ECF

No. 769; Galloway I, ECF No. 419.)

DISCUSSION
A. Legal Standard
Federal Rule of Civil Procedure 30(c) (2) governs objections
during a deposition and provides that:

An objection at the time of the examination—
whether to evidence, to a party’s conduct, to
the officer’s qualifications, to the manner of
taking the deposition, or to any other aspect
of the deposition—must be noted on the record,
but the examination still proceeds; the
testimony is taken subject to any objection.
An objection must be stated concisely in a
nonargumentative and nonsuggestive manner. A
person may instruct a deponent not to answer

only when necessary to preserve a
privilege
Fed. R. Civ. P. 30(c)(2) (emphasis added). With respect to the

duration of a deposition, Rule 30(d) provides that the “court must
allow additional time ... if needed to fairly examine the
deponent or if the deponent, another person, or any other
circumstance impedes or delays the examination.” Fed. R. Civ. P.

30(d) (1).
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B. The Informer’s Privilege Is Not Applicable.

“The ‘informer’s privilege,’ which protects a confidential
informant’s identity, is in reality the Government’s privilege to
withhold from disclosure the identity of persons who furnish

information about crimes to law enforcement.” United States v.

Bell, 901 F.3d 455, 466 (4th Cir. 2018) (quoting Roviaro v. United

States, 353 U.S. 53, 59 (1957)) (internal quotation marks and
alteration omitted). “The scope of the privilege is limited by
its underlying purpose. Thus, where the disclosure of the contents
of a communication will not tend to reveal the identity of an
informer, the contents are not privileged. Likewise, once the
identity of the informer has been disclosed to those who would
have cause to resent the communication, the privilege is no longer
applicable.” Roviaro, 353 U.S. at 60.

In this case, the informer’s privilege does not apply to
Pete’s testimony. The purpose of the informer’s privilege is to
protect a confidential informant’s identity. Beli, 901 F.3d at
466. Here, Pete’s identity has already been revealed, so
disclosing the contents of her communications with the FBI will
not protect her identity. Moreover, the informer’s privilege is
not the Plaintiffs’ privilege to assert. Instead, the informer’s
privilege is the Government’s privilege. Id. The Government in
this case has represented that it “is not invoking the government’s

‘informer’s privilege’ or other law enforcement or investigatory
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privileges with respect to the proposed questions to Ms. Pete in
these proceedings.” (Williams, ECF No. 783 at 2.) Consequently,
the informer’s privilege is not applicable in this case. No other
privilege has been asserted.

Counsel for Martorello has filed MATT MARTORELLO’S
SUPPLEMENTAL MEMORANDUM IN SUPPORT OF MOTION UNDER RULE 30(D) FOR
FURTHER DEPOSITION BASED ON CONDUCT THAT IMPEDED QUESTIONING AND
FOR EXPEDITED RULING (Pete, ECF No. 32; Williams, ECF No. 769;
Galloway I, ECF No. 419) (“Martorello’s Supplemental Memorandum”) .
The questions contained within Martorello’s Supplemental
Memorandum are akin to the ones Martorello’s counsel sought to
posit at the Pete deposition.

C. Martorello’s Proposed Line of Questioning Is Relevant.

The transcript of Pete’s deposition shows that counsel for
Pete and the Plaintiffs objected on the ground of relevance, in
addition to privilege grounds. (Pete Dep. Tr. at 8-10.) “The
broad scope of discovery is evident in Rule 26(b)(1) ... .”

Ralston Purina Co. v. McFarland, 550 F.2d 967, 973 (4th Cir. 1977).

Federal Rule of Civil Procedure 26(b) (1) provides that:

Parties may obtain discovery regarding any
nonprivileged matter that is relevant to any
party’s claim or defense and proportional to
the needs of the case, considering the
importance of the issues at stake in the

action, the amount in controversy, the
parties’ relative access to relevant
information, the parties’ resources, the

importance of the discovery in resolving the

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issues, and whether the burden or expense of
the proposed discovery outweighs its likely
benefit. Information within this scope of
discovery need not be admissible in evidence
to be discoverable.

Fed. R. Civ. P. 26(b) (1). Accordingly, the “deposition-discovery
rules are to be accorded a broad and liberal treatment.” Ralston

Purina Co., 550 F.2d at 973 (quoting Hickman v. Taylor, 329 U.S.

495, 507 (1947)).
The questions that Martorello seeks to ask Pete concern

potential crimes that occurred on LVD’s reservations and Pete’s

communications with the FBI. These questions pertain to crimes
allegedly involving Martorello, Williams, and Hazen.
(Martorello’s Supplemental Memorandum at 2-7.) Martorello argues

that this line of questioning “seek[s] information relevant to
exploring Ms. Pete’s potential bias and prejudice against
Martorello, as well as other Tribal council members that Ms. Pete
has accused of making misrepresentations to the Court ”
(Id. at 8.) Martorello also contends that the proposed line of
questioning is relevant as to Pete’s credibility because of
“Plaintiffs’ repeated reliance on Ms. Pete’s declaration and
deposition testimony” in the Plaintiffs’ Misrepresentations
Memorandum. (Id.)} Meanwhile, the Plaintiffs contend that these
questions are not relevant and “are either designed to harass and

intimidate Ms. Pete or dig up information on _ potential

investigations of Martorello or [LVD] that are not related to this

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matter.” (Williams, ECF No. 777 at 5; Galloway I, ECF No. 427 at

5.)
A review of the proposed questions listed in Martorello’s
Supplemental Memorandum (Pete, ECF No. 32; Williams, ECF No. 769;

Galloway I, ECF No. 419) makes clear that Martorello’s proposed

line of questioning is relevant for the purposes of discovery
because Pete’s knowledge of, and her reporting of, any crimes
allegedly involving Martorello, Williams, or Hazen may evince bias
against those people. And whether Pete is biased against
Martorello, Williams, or Hazen-all of whom are involved in the
underlying actions—goes directly to her credibility, especially in
light of the Plaintiffs’ reliance on Pete in the Plaintiffs’
Misrepresentations Memorandum. Martorello is entitled to explore
this potential bias at Pete’s deposition. Although discovery is
not limitless, the scope of discovery is broad and easily
encompasses questions regarding Pete’s potential bias and
credibility. “The questions put to [Pete] were germane to the
subject matter of the pending action and therefore properly within
the scope of discovery. They should have been answered and, in
any event, the action of [Plaintiffs’] counsel in directing the

deponent not to answer was highly improper.” Ralston Purina Co.,

550 F.2d at 973. The MOTION was therefore granted, and Pete shall
be deposed by Martorello for up to two additional hours with

respect to the topics included in the list of questions contained

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in Martorello’s Supplemental Memorandum (Pete, ECF No. 32;

Williams, ECF No. 769; Galloway I, ECF No. 419).

D. The Plaintiffs Shall Pay Attorneys’ Fees, Expenses, and Costs
Related to the MOTION.

Federal Rule of Civil Procedure 30(d) concerns sanctions and
provides that:
The court may impose an appropriate sanction—
including the reasonable expenses and
attorney’s fees incurred by any party—-on a

person who impedes, delays, or frustrates the
fair examination of the deponent.

Fed. R. Civ. P. 30(d)(2). Relatedly, Rule 30(c) (2) provides that
an “objection must be stated concisely in a nonargumentative and
nonsuggestive manner.”

During Pete’s deposition, Plaintiffs’ counsel made hostile
comments and engaged in lengthy speaking objections. Although
Scheff reminded Plaintiffs’ counsel that their objections were
already on the record and attempted to proceed with the deposition
to lay a foundation for litigating the informer’s privilege, the
conduct of Plaintiffs’ counsel impeded Pete’s deposition to such
an extent that Scheff was forced to abandon that effort. (Pete
Dep. Tr. at 8-21.) Moreover, Plaintiffs’ counsel’s insistence
that Pete not answer Scheff’s questions because of informer’s

privilege, (see, e.g., id. at 19-20), was misguided and

unreasonable. The most cursory of searches would have revealed to

Plaintiffs’ counsel that, as the Plaintiffs concede in their

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papers, “the informant’s privilege can generally only be invoked

by the government,” (Williams, ECF No. 777 at 7; Galloway I, ECF

No. 427 at 7), and that that privilege concerns the government
withholding the identity of the informant.

The excerpted deposition transcript shows that the
hostilities began with Plaintiffs’ counsel accusing Scheff of
harassment and witness intimidation on multiple occasions. (Pete
Dep. Tr. at 10-13.) The deposition subsequently became more heated
with Plaintiffs’ counsel making, among others, the following

comments:

e I think that this is pure harassment at this
point trying to intimidate this witness by
asking her about other contact she’s had with
law enforcement. (Id. at 12-13.)

e Stop. Stop. .. . Enough. Enough. I’m going
to get the judge on the phone. I don’t know
how you do things in Philadelphia. .. . No.
Stop. I’mtalking. ... [YJou think that you
know more about representing the criminal that
[sic] everyone else that you’re going to
continue to proceed = and ignore those
[objections]. (Id. at 15.)

e Put your fingers in your ear and stick your
tongue out and go I’m not going to listen. Do
what you want to do, .. . but I’m talking.
(Id. at 16.)

e I get that you don’t do a lot of this stuff in
Virginia, but we follow the federal rules of
civil procedure. (Id. at 17.)

e So now you want to learn more, maybe to find
out if Mr. Martorello has some other problems.
I don’t know. You know. You’re his lawyer.
If he’s selling drugs and you know that, I

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don’t get to ask you those questions. You’re

not going to talk about unrelated matters

beyond online lending. And I’m telling you

that and I’m interrupting in this deposition.

I’m putting my name, my license on the record

and I will take the heat with Judge Payne.

(Id. at 18.)
“While isolated acts of discourtesy or loss of temper can be
expected, even from the best of counsel, and excused by the court,
systematic and deliberate abuses . . . cannot go unsanctioned as
they are destructive of the very fabric which holds together the

process of pretrial discovery—cooperative exchange of information

without the need for constant court intervention.” Freeman v.

Schointuck, 192 F.R.D. 187, 189 (D.Md. 2000) (emphasis added).

It is unclear why Pete’s deposition descended into such

hostilities. However, what is clear is that that conduct is
unacceptable. It is with chagrin that the Court must remind
Plaintiffs’ counsel that they are to conduct’ themselves

professionally and as befits officers of the Court at all
proceedings related to these actions, including at Pete’s upcoming
deposition. The conduct at issue necessitated that the deposition
be ended and frustrated Scheff’s attempts to lay the predicate for
a ruling on the claims of privilege. The deposition must be
resumed and the costs, and Martorello’s attorneys’ fees, in taking
the resumed deposition must be borne by Plaintiffs’ counsel

collectively.

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CONCLUSION
For the reasons set forth above, MATT MARTORELLO’S MOTION
UNDER RULE 30(d) FOR FURTHER DEPOSITION BASED ON CONDUCT THAT
IMPEDED QUESTIONING AND FOR EXPEDITED RULING (Pete, ECF No. 23;

Williams, ECF No. 747; Galloway I, ECF No. 391) was granted.

Joette Pete shall be deposed for up to two hours with respect to
the topics included in the list of questions contained in MATT
MARTORELLO’S SUPPLEMENTAL MEMORANDUM IN SUPPORT OF MOTION UNDER
RULE 30(d) FOR FURTHER DEPOSITION BASED ON CONDUCT THAT IMPEDED
QUESTIONING AND FOR EXPEDITED RULING (Pete, ECF No. 32; Williams,

ECF No. 769; Galloway I, ECF No. 419). Plaintiffs’ counsel

collectively shall pay the reasonable costs and attorneys’ fees
incurred by one lawyer in taking the further deposition of Pete.
This is an assessment of fees and costs for unnecessary delay and
not a sanction on individual counsel.

It is so ORDERED.

/s/ Lief

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: July IM, 2020

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